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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Annette-Lynn McKenna,                          NO. CV-22-08016-PCT-SPL
10                  Plaintiff,
                                                   JUDGMENT OF DISMISSAL IN A
11   v.
                                                   CIVIL CASE
12   HP Incorporated, et al.,
13                  Defendants.
14
15            Decision by Court. This action came for consideration before the Court. The

16   issues have been considered and a decision has been rendered.

17            IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order filed
18   February 7, 2022, judgment of dismissal is entered. The Complaint and this action are

19   dismissed without prejudice.

20                                           Debra D. Lucas
                                             District Court Executive/Clerk of Court
21
22   February 7, 2022
                                             s/ L. Dixon
23                                      By   Deputy Clerk
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